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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RUBEN RODRIGUEZ : CIVIL ACTION — LAW

1026 Josephine Drive : NO.
Temple, PA 19560 :

Plaintiff
VS. : Electronically filed

MUHLENBERG TOWNSHIP
210 George Street
Reading, PA 19605
AND
MUHLENBERG TOWNSHIP POLICE :
DEPARTMENT ; JURY TRIAL OF 12 DEMANDED
210 George Street :
Reading, PA 19605

Defendants

COMPLAINT

JURISDICTION AND VENUE

1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 as the action

arises under Title VIL, 42 U.S.C, §2000¢, et seq. and 42 U.S.C. §1981. Plaintiff's Title VII Notice

of Right to Sue letter was issued July 24, 2020 and is attached as Exhibit A and this Complaint

was filed within 90 days of receipt of that Notice. Plaintiff cross-filed this matter under the

Pennsylvania Human Relations Act, 43 Pa.C.S. §951, ef seq., with the Pennsylvania Human

Relations Commission and it has not been one year since that cross-filing. Plaintiff seeks the Court

to deem this action filed when one year has passed. This Court has supplemental jurisdiction over

the state law claims pursuant to 28 U.S.C. §1367 because they are so related to the federal claims

that they form part of the same case.
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2. Venue is proper in the Eastern District of Pennsylvania because Defendants are located
in this District.

FACTUAL ALLEGATIONS

3. Plaintiff Ruben Rodriguez is an adult male and Berks County resident living at 1026
Josephine Drive, Temple, PA 19560.

4. Defendant Muhlenberg Township (hereinafter “Defendant MT”), with offices located
at 210 George Street, Reading, PA 19605, is a municipality located in Berks County, Pennsylvania
where Plaintiff worked.

5. Defendant Muhlenberg Township Police Department (hereinafter “Defendant
MTPD”), with offices located at 210 George Street, Reading, PA 19605, is a police department
serving Muhlenberg Township at which Plaintiff worked.

6. Plaintiff worked for Defendants for just under a year.

7. Plaintiff is Hispanic (race), Brown (color), his national origin is Puerto Rico, and his
ethnicity is Puerto Rican.

8. Defendant MTPD fired Plaintiff shortly (one day) before his one-year anniversary.

9. Per the Fraternal Order of Police Union contract with Defendant MTPD, Plaintiff
would have been protected by a Fraternal Order of Police Union contract if he served one year.

10. Plaintiff received no write-ups, bad reviews, or any warning whatsoever.

11. Defendant MTPD never let go in a similarly-situated way police officers outside
Plaintiff's protected classes in anywhere close to this fashion (one day before their one-year
anniversary with no warning).

12. Plaintiff's termination was as a result of race discrimination and retaliation.

13. Plaintiff suffered a hostile work environment.
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14, There was serious discrimination (at least verbally} in this workplace from August 2019
onwards.

15, Officers, both in squad meetings and outside them as individual or group settings, made
derogatory comments about Puerto Ricans and Hispanics in general.

16. They would say things like “It’s got to be a PR” (Puerto Rican) in reference to when
there was anything criminal involved, and the Puerto Ricans were “his people.”

17, Plaintiff was specifically called out for “knowing all the criminals.”

18. Plaintiff tolerated this commentary for fear of losing his job.

19. As of January 2019, things got worse for Plaintiff.

20. Somewhere between January 1, 2019 and January 4, 2019, Sgt. Joel Marino became
Plaintiff's sergeant,

21. Things changed for Plaintiff after Sgt. Marino took over Plaintiff's unit.

22, Sgt. Marino was constantly picking on Plaintiff despite the huge load of work he
assigned to Plaintiff.

23. The other officers in the department noticed Sgt. Marino’s obvious and apparent
nitpicking on Plaintiff and told Plaintiff.

24. In February, there was a particular discussion in the squad room (with officers and Sgt.
Marino being present) in which various officers made racial comments (“it’s always your people,”
“it’s always the Puerto Ricans,” “build a wal?’).

25. Sgt. Marino approached Plaintiff afterwards and asked if Plaintiff was offended by
anything that was said.

26. Plaintiff replied that it did bother him, but asked Sgt. Marino to handle the situation as

he saw fit as he (Plaintiff) didn’t want to be viewed as complaining.
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27. Subsequently, on two occasions, Plaintiff refused to cooperate with “setting up” two
Hispanic officers, Officer Rile and Officer Carballo, with inaccurate charges.

28. As far as Officer Rile, Sgt. Marino asked Plaintiff to say in an event investigated by
Plaintiff that Officer Rile asked Plaintiff to cover up for him so he wouldn’t get in trouble.

29, Officer Rile did not ask Plaintiff to do this.

30. Plaintiff believes that Officer Rile was being targeted for termination.

31. Plaintiff believes that his refusal to falsely characterize what occurred contributed to
his (Plaintiffs) eventual termination.

32. Similarly, Sgt. Marino came to Plaintiff about a claim that Officer Carballo was
voluntarily acting in concert with gang members.

33. Sgt. Marino used Plaintiffas a translator with the 17-year-old gang member.

34, The gang member said that he had asked Officer Carballo to participate in a music video
using Department-issued vehicles.

35. Sgt. Marino wanted Plaintiff to state that the gang member claimed that Officer Carballo
was “involved in gang activity.”

36. Plaintiff would not go along with the mischaracterization,

37. No one, to Plaintiff's knowledge, ever asked him about Sgt. Marino’s attempt to set up
Officer Carballo.

38. Shortly before Plaintiff was let go, Plaintiff was subpoenaed to testify on behalf of
Officer Rile.

39. After Plaintiff was terminated, Plaintiff, pursuant to the subpoena, showed up to testify
but was told he was not needed.

40. On or about April 23, 2019, Plaintiff was fired, one day before his one-year anniversary.

 
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41. Plaintiff was given several pretexts for letting him go that Defendant MTPD already
knew or that were extremely small issues or mischaracterizations.

42. Similarly-situated Caucasian officers who had issues were treated much more
favorably than the Hispanic officers.

43. The incidents the Hispanic officers were accused of were small or trivial in
comparison.

44, Defendant MTPD acted with malice or reckless indifference to Plaintiffs federally-
protected rights.

45. At the time of his termination, Plaintiff was earning $25-$26 an hour (approximately
$59,000/year) plus benefits.

46. At all relevant times, the Defendants did not act in good faith and the activity of
terminating or failing to continue to employ Plaintiff was done in consultation with second-line
supervisors or above,

47, Defendants’ activity herein was not done pursuant to good-faith practices in anti-
discrimination requiring Kolstad liability. |

48. The Defendants’ activities in letting Plaintiff go was done by second-line supervisors
and above.

49. No similarly-situated members of other protected classes were treated in this fashion.

COUNTI
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF TITLE VU -- DISCRIMINATION
50. Plaintiff incorporates paragraphs 1 through 49 above as if set forth herein.

51. Plaintiff is in protected classes.
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52, Plaintiff suffered adverse employment action(s) because of his race, ethnicity, national
origin or color by Defendant MT and because he opposed and refused to participate in
discrimination against other Hispanic employees.

53. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in a protected class.

54. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT IL
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF TITLE VH —- HOSTILE WORK ENVIRONMENT

55. Plaintiff incorporates paragraphs 1 through 54 above as if set forth herein.

56. Plaintiff is in protected classes.

57. Plaintiff suffered intentional discrimination in his work environment because of his
race, ethnicity, national origin or color by Defendant MT.

58. The discrimination was severe or pervasive.

59. The discrimination detrimentally affected Plaintiff.

60. The discrimination would detrimentally affect a reasonable person of the same race,

ethnicity, national origin or color as Plaintiff.

 
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61. Respondeat superior liability exists.

62. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine,

COUNT II
PLAINTIFF y. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF TITLE VIL— RETALIATION

63. Plaintiff incorporates paragraphs 1 through 62 above as if set forth herein.

64, Plaintiff is in protected classes,

65. Plaintiff suffered adverse employment action(s) because he opposed and refused to
participate in discrimination against other employees and he would not lie about fellow Hispanic
officers’ conduct and/or he was poised to testify on behalf of a fellow Hispanic officer under
subpoena in the officer’s termination proceeding.

66. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

67. There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

68. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or

other compensation denied or lost by such violation, including front wages; (2) equitable relief
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such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.
COUNT IV
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF SECTION 1981 -- DISCRIMINATION

69. Plaintiff incorporates paragraphs 1 through 68 above as if set forth herein,

70. Plaintiff is in a protected class, Hispanic.

71. Plaintiff suffered adverse employment action(s) because of his race by Defendant MT.

72. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in the protected class.

73. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT V
PLAINTIFF vy. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF SECTION 1981 —- HOSTILE WORK ENVIRONMENT

74, Plaintiff incorporates paragraphs 1 through 73 above as if set forth herein.
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75. Plaintiff is in a protected class, Hispanic.

76. Plaintiff suffered intentional discrimination in his environment because of his race by
Defendant MT.

77. The discrimination was severe or pervasive.

78. The discrimination detrimentally affected Plaintiff.

79, The discrimination would detrimentally affect a reasonable person of the same race as
Plaintiff.

80. Respondeat superior liability exists.

81. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT VI
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP

VIOLATION OF SECTION 1981 —- RETALIATION FOR
OPPOSITIONAL AND/OR PARTICIPATORY CONDUCT

82. Plaintiff incorporates paragraphs | through 81 above as if set forth herein.
83. Plaintiff is in a protected class, race.
84. Plaintiff suffered adverse employment action(s) because he opposed and refused to

participate in discrimination against other employees and he would not lie about fellow Hispanic
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officers” conduct and/or he was poised to testify on behalf of a fellow Hispanic officer under
subpoena in the officer’s termination proceeding.

85. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

86. There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

87. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT Vil
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
VIOLATION OF FIRST AMENDMENT

88. Plaintiff incorporates paragraphs 1 through 87 above as if set forth herein.

89, Plaintiff is a United States citizen.

90. Plaintiff suffered adverse employment action(s) because he refused to lic about the
conduct of fellow Hispanic officers and/or was poised to testify on behalf of a fellow Hispanic
police officer in his termination proceeding.

91. Plaintiff has suffered damages,

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or

other compensation denied or lost by such violation, including front wages; (2) equitable relief

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such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff’s favor under the Third Circuit’s Eshelman doctrine.

COUNT VI

PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
DISCRIMINATION
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

92. Plaintiff incorporates paragraphs 1 through 91 above as if set forth herein.

93. Plaintiff is in protected classes.

94, Plaintiff suffered adverse employment action(s) because of his race, ethnicity, national
origin or color by Defendant MT.

95. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in a protected class.

96. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)

damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action; (7)

interest; and (8) an additional amount for the tax consequences for an award in Plaintiff's favor —

under the Third Circuit’s Eshelman doctrine.

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COUNT IX
PLAINTIFF v. DEFENDANT MUHLENBERG TOWNSHIP
HOSTILE WORK ENVIRONMENT
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

97, Plaintiff incorporates paragraphs 1 through 96 above as if set forth herein.

98. Plaintiff is in protected classes.

99. Plaintiff suffered intentional discrimination in his environment because of his race,

ethnicity, national origin or color by Defendant MT.

100. The discrimination was severe or pervasive.

101. The discrimination detrimentally affected Plaintiff.

102. The discrimination would detrimentally affect a reasonable person of the same race,
ethnicity, national origin or color as Plaintiff.

103. Respondeat superior liability exists.

104. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
| other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action; (7)
interest; and (8) an additional amount for the tax consequences for an award in Plaintiff's favor

under the Third Circuit’s Eshelman doctrine,

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COUNT X
PLAINTIFF y. DEFENDANT MUHLENBERG TOWNSHIP
RETALIATION
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

105. Plaintiff incorporates paragraphs | through 104 above as if set forth herein.

106. Plaintiff is in protected classes.

107. Plaintiff suffered adverse employment action(s) because he opposed and refused to
participate in discrimination against other employees and he would not lie about fellow Hispanic
officers’ conduct and/or he was poised to testify on behalf of a fellow Hispanic officer under
subpoena in the officer’s termination proceeding,

108. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

109, There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

110. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action; (7)
interest; and (8) an additional amount for the tax consequences for an award in Plaintiff’s favor

under the Third Circuit’s Eshelman doctrine.

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COUNT XI

PLAINTIFF y, DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF TITLE VII -- DISCRIMINATION

111. Plaintiff incorporates paragraphs 1 through 110 above as if set forth herein,

112. Plaintiff is in protected classes.

113. Plaintiff suffered adverse employment action(s) because of his race, ethnicity, national
origin or color by Defendant MTPD and because he opposed and refused to participate in
discrimination against other Hispanic employees.

114. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in a protected class.

115. Plaintiffhas suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1} wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiting; (3) a reasonable attorney’s fee; (4) the employce’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT XII

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF TITLE V0O.— HOSTILE WORK ENVIRONMENT
116. Plaintiff incorporates paragraphs 1 through 115 above as if set forth herein.

117. Plaintiff is in protected classes.

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118. Plaintiff suffered intentional discrimination in his environment because of his race,
ethnicity, national origin or color by Defendant MTPD.

119. The discrimination was severe or pervasive.

120. The discrimination detrimentally affected Plaintiff.

121. The discrimination would detrimentally affect a reasonable person of the same race,
ethnicity, national origin or color as Plaintiff.

122. Respondeat superior liability exists,

123. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT XIV

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF TITLE VU -- RETALIATION
124. Plaintiff incorporates paragraphs | through 123 above as if set forth herein.
125. Plaintiff is in protected classes.
126. Plaintiff suffered adverse employment action(s) because he opposed and refused to
participate in discrimination against other employees and he would not lie about fellow Hispanic
officers’ conduct and/or he was poised to testify on behalf of a fellow Hispanic officer under

subpoena in the officer’s termination proceeding.

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127. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

128. There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

129. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiffs favor under the Third Circuit’s Eshelman doctrine,

COUNT XV

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF SECTION 1981 -- DISCRIMINATION

130. Plaintiff incorporates paragraphs | through 129 above as if set forth herein.

131. Plaintiff is in a protected class, race.

132. Plaintiff suffered adverse employment action(s) because of his race by Defendant
MTPD.

133. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in a protected class.

134. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief

such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)

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damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT XVI

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF SECTION — HOSTILE WORK ENVIRONMENT

135. Plaintiff incorporates paragraphs | through 134 above as if set forth herein.

136. Plaintiff is in a protected class, race.

137. Plaintiff suffered intentional discrimination in his environment because of his race by
Defendant MTPD.

138. The discrimination was severe or pervasive.

139. The discrimination detrimentally affected Plaintiff.

140. The discrimination would detrimentally affect a reasonable person of the same race as
Plaintiff.

141. Respondeat superior liability exists.

142. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award

in Plaintiff’s favor under the Third Circuit’s Eshelman doctrine.

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COUNT XVI

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF SECTION 1981 -- RETALIATION FOR
OPPOSITIONAL AND/OR PARTICIPATORY CONDUCT

143. Plaintiff incorporates paragraphs | through 142 above as if set forth herein.

144, Plaintiff is in a protected class, race.

145. Plaintiff suffered adverse employment action(s) because he opposed and refused to
participate in discrimination against other employees and he would not lic about fellow Hispanic
officers’ conduct and/or he was poised to testify on behalf of a fellow Hispanic officer under
subpoena in the officer’s termination proceeding.

146. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

147. There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

148. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award

in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

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COUNT XVUI

PLAINTIFF v. DEFENDANT MULHENBERG
TOWNSHIP POLICE DEPARTMENT

VIOLATION OF FIRST AMENDMENT

149. Plaintiff incorporates paragraphs 1 through 148 above as if set forth herein.

150. Plaintiff is a United States citizen.

151. Plaintiff suffered adverse employment action(s) because he refused to lic about the
conduct of fellow Hispanic officers and/or was poised to testify on behalf of a fellow Hispanic
police officer in his termination proceeding.

152, Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) punitive damages; (7) other
costs of the action; (8) interest; and (9) an additional amount for the tax consequences for an award
in Plaintiff's favor under the Third Circuit’s Eshelman doctrine.

COUNT XIX

PLAINTIFF v. DEFENDANT MULHENBERG
TOWNSHIP POLICE DEPARTMENT

DISCRIMINATION
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT
153. Plaintiff incorporates paragraphs 1 through 152 above as if set forth herein.

154, Plaintiff is in protected classes.

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155. Plaintiff suffered adverse employment action(s) because of his race, ethnicity, national
origin or color by Defendant MTPD.

156. There is a causal connection between the adverse employment action sustained by
Plaintiff and his membership in a protected class.

157. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief (1) wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (3)
damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action; (7)
interest; and (8) an additional amount for the tax consequences for an award in Plaintiff’s favor
under the Third Circuit’s Eshelman doctrine.

COUNT XX

PLAINTIFF v. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

HOSTILE WORK ENVIRONMENT |
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

158, Plaintiff incorporates paragraphs 1 through 157 above as if set forth herein.

159. Plaintiff is in protected classes.

160. Plaintiff suffered intentional discrimination in his environment because of his race,
ethnicity, national origin or color by Defendant MTPD.

161. The discrimination was severe or pervasive.

162. The discrimination detrimentally affected Plaintiff.

163. The discrimination would detrimentally affect a reasonable person of the same race,

ethnicity, national origin or color as Plaintiff.

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164. Respondeat superior liability exists.

165. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1} wages, employment benefits or
other compensation denied or lost by such violation, including front wages; (2) equitable relief
such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action; (7)
interest; and (8) an additional amount for the tax consequences for an award in Plaintiff’s favor
under the Third Circuit’s Eshelman doctrine.

COUNT XXI

PLAINTIFF y. DEFENDANT MUHLENBERG
TOWNSHIP POLICE DEPARTMENT

RETALIATION
VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT

166, Plaintiff incorporates paragraphs 1 through 165 above as if set forth herein,

167. Plaintiff is in protected classes.

168. Plaintiff suffered adverse employment action(s) because he would not lie about fellow
Hispanic officers’ conduct and/or he was poised to testify on behalf of a fellow Hispanic officer
under subpoena in the officer’s termination proceeding.

169. Plaintiff has a good-faith, reasonable belief that his conduct was protected activity.

170. There is a causal connection between the adverse employment action sustained by
Plaintiff and his activity herein.

171. Plaintiff has suffered damages.

WHEREFORE, Plaintiff demands the following relief: (1) wages, employment benefits or

other compensation denied or lost by such violation, including front wages; (2) equitable relief

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such as rehiring; (3) a reasonable attorney’s fee; (4) the employee’s expert witness fee, if any; (5)
damages for pain, suffering, humiliation, and emotional distress; (6) other costs of the action;
(7) interest; and (8) an additional amount for the tax consequences for an award in Plaintiff's favor

under the Third Circuit’s Eshelman doctrine.

Respectfully submitted,

Date; 10/21/2020 BY: s/Edward C. Sweeney

Edward C. Sweeney, Esquire

Attorney for Plaintiff

LD. No, 64565

211 Welsh Pool Road, Suite 236
Exton, PA 19341

(610) 594-1600

Validation of signature code: ECS1942

 

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EXHIBIT A
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EEOC Form 181-8 (14/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
- NOTIGE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: Ruben Rodriguez From: Philadelphia District Office
1026 Josephine Drive 801 Market Sireat
Temple, PA 19560 Suite 1000

Philadelphia, PA 19107

On behalf of person(s) aggrieved whose dently is
CONFIDENTIAL (29 GFR §1607,7(a))

 

 

EEOC Charge Ne. EEOC Representative Telephone No.
Legal Unit,
§30-2020-02343 Legal Techniclan (267) 589-9700

{See also the additional information enclosed with this form.)
Novice TO THE PERSON AGGRIEVED:
Title VIl of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or tha Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title Vil, the ADA or GINA based on the above-numbered charge. It has
been Issued at your request, Your lawsult under Title Vl, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your recelpt of this notica; or your right to sue based on this charge will be jost. (The time limit for fillng suit based on a claim under
state law may be differant.) . .

 

More than 180 days have passed since the fillng of this charge.

Less than 180 days have passed since fhe filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

The EEOC ts terminating Its processing of this charge.

UE BO

The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time frem 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:

The FEOG is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
50 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will ba lost,

C] ' The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at thls time:

equal Pay ‘Ast (EPA):. You already have the. right t toa ada Lindér the EPA (fling an EEOC charge Is not ‘yequlred, ) EPA aula must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment, This means that backpay. due for
any violations that occurred more. thar. 2 years (3 years) béfore you file sult may not be collectible.

If you file sult, based on this charge, please send.a copy of your court camplaint to this office.

On behalf of the Commission

July 24, 2020

 

 

 

Enclosures(s} Jamle R. Williamson, (Dale Mailed)
District Director
Gy Michael Setley, Esq. Edward C. Sweeney, Esq.
Solletor WUSINIGH & SWEENEY, LLG
MUHLENGERG TOWNSHIP 214 Welsh Poo! Road
4 Park Plaza Suite 236

Wyomissing, PA 19610 Exton, PA 19341

 
Case 5:20-Cv-05242-Jh rp iAGUunaPisralcissod 21/20 Page 25 of 27

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pra se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar}

Address of Plaintift: 1026 Josephine Drive, Teniple, ‘PA 19560

 

Address of Defendant: 210 George Street,.Reading, PA 19605

 

Place of Accident, Incident or Transaction: 210 George Street, Reading, PA 19605

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions;

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ No
pending or within one year previously terminated action in this court?

3, Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes {| No
case filed by the same individual?

I certify that, to my knowledge, the within case LJ is / [2] is not related to any “ler or within one year previously terminated action in

me TAPP te al”

 

 

 

 

 

64565
' Attorney-at-Law / Pro Se Plaintiff / / Attorney LD. # (if applicable)

CIVIL: (Place a ¥ in one category only)
A, Fedéral Question Cases: B. Diversity Jurisdictian Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
CL] 2. FRLA [] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury L] 3. Assault, Defamation
[] 4. Antitrust [] 4. Marine Personal Injury
H 5, Patent [] 3. Motor Vehicle Personal Injury

6, Labor-Management Relations [] 6. Other Personal Injury (Please specify):
(1 7. Civil Rights [C1 7. Products Liability .
C1 & Habeas Compus C1 8. Products Liability Asbestos

. 9. Securities Act(s} Cases (1 9%. Ail other Diversity Cases

10. Social Security Review Cases (Please specify):

ii. All other Federal Question Cases

(Please specify): vace disc., retaliation, hostile work environment

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification ts to remove the case from eligibility for arbitration.)

Edward C. Sweeney

, counsel of record er pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought. ‘
oar:__ {7 / 24/20 le Shell - 64565
f et Attorney-at-Law / Pro Se Plaintiff nal Attorney LD, # (if applicable)

NOTE; A trial de novo will bea trial by jury only if there has been compliance with F.R.C.P, 38,

 

Civ, 609 (5/2018)

 

 
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JS 44 (Rev, 10/20)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

|. (a) PLAINTIFFS
Ruben Rodriguez
1026 Josephine Drive, Temple, PA 19560

(b) County of Residence of First Listed Plaintiff Berks
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS
Muhlenberg Township

210 George Street, Reading, PA 19605 and
lenber . Police Departmen
ZU GRRE RE StPSet aa Beedeneanke 19605

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

 

 

 

 

 

 

 

 

 

 

 

 

(c Attorneys (/irm Name, Address, and Telephone Number) Attorneys (if Known)
Qowarg i gruccney j EP é
usinic weene
Il Welsh Pool Rd.; Suite 236, Exton, PA 19341
10-594-1600
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "“X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
| | U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (]1 [J 1 Incorporated or Principal Place [14 (4
of Business In This State
C] 2 U.S. Government L]4 Diversity Citizen of Another State CL] 2 CJ 2 Incorporated and Principal Place | 5 (]s
Defendant (Indicate Citizenship of Parties in Item IIT) of Business In Another State
Citizen or Subject ofa C] 3 CL 3 Foreign Nation CT] 6 O 6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine — 310 Airplane L] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_|690 Other 28 USC 157 3729%(a))
140 Negotiable Instrument Liability [_] 367 Health Care/ |_| 400 State Reapportionment
LC] 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability [| 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
LC] 160 Stockholders’ Suits 355 Motor Vehicle 4 371 Truth in Lending Act 485 Telephone Consumer
L | 190 Other Contract Product Liability CJ 380 Other Personal | |720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury Cl 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange

Medical Malpractice

Leave Act

 

790 Other Labor Litigation

 

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

442 Employment

443 Housing/
Accommodations

|] 445 Amer. w/Disabilities -

Employment

| 446 Amer. w/Disabilities -

Other

|_| 448 Education

 

CI]
[|

 

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus:
220 Foreclosure 441 Voting Hl 463 Alien Detainee

| | 510 Motions to Vacate

Sentence

[_] 530 General

i 535 Death Penalty

Other:

340 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

791 Employee Retirement
Income Security Act

864 SSID Title XVI
|] 865 RSI (405(g))

890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

 

FEDERAL TAX SUITS

895 Freedom of Information

 

 

[| 870 Taxes (U.S. Plaintiff
or Defendant)
[| 871 IRS—Third Party

 

IMMIGRATION

26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

Act
a 896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

 

K] | Original 2 Removed from 3. Remanded from Oo 4 Reinstated or oO 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
Title VII, 42 U.S.C. §2000e, et seq. & U.S.C. §1981

 

VI. CAUSE OF ACTION
Race

 

Bae cesrintion of cause; . . . . .
iscrimination, retaliation, hostile work environment

 

 

VII. REQUESTED IN ~~ [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: K]yes []No
VII. RELATED CASE(S)
‘See instructions):
IF ANY (See mmsinenOns” GE DOCKET NUMBER

 

 

"(gf 26[ 2222

FOR OFFICE USE ONLY

RECEIPT # AMOUNT

PAA C pekial,

APPLYING IFP

JUDGE

MAG. JUDGE
Case 5:20-cv-05242-JLS Document1 Filed 10/21/20 Page 27 of 27

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

RUBEN RODRIGUEZ .
1026 Josephine Drive, Temple, PA 19560 : CIVIL ACTION

¥,
MUHLENBERG TOWNSHIP
210 George Street, Reading, PA 19605 AND

MUHLENBERG TWP. POLICE DEPARTMENT > NO.
210 George Street, Reading, PA 19605

“In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
. plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d} Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.} { )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (x)
10/21/2020 Edward C. Sweeney, Esquire Plaintiff
Date . Attorney-at-law . Attorney for —
610-594-1600 610-594-6518 esweeney@wspalaw.com
Telephone ‘FAX Number E-Mail Address

(Civ, 660) 10/02
